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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:24-cv-00872-NYM-STV


  MICHAEL BROWN,

                  Plaintiff,

  v.

  PROJECT RESOURCES GROUP, INC.,

                  Defendant.

          UNOPPOSED MOTION TO CONTINUE SCHEDULING CONFERENCE


          Plaintiff Michael Brown (“Plaintiff”), by and through his undersigned counsel hereby

  states as follows:

           D.C.COLO.LCivR 7.1 Certification: The undersigned certifies that counsel has

  conferred in good faith with each other regarding the relief requested in this Motion and Defense

  counsel agrees to the relief requested in this Motion

             1. This Court set a Scheduling Conference for June 6, 2024 at 10:45 a.m.

             2. The Parties proposed scheduling order is due to the Court on Thursday, May 30,

  2024.

             3. To date, neither of these deadlines have passed.

             4.   Due to scheduling conflicts, Plaintiff’s counsel has not yet been able to coordinate

  a Fed.R.Civ.P. 26(f) conference nor otherwise meaningfully meet with Defense counsel regarding

  the dates and deadlines in this action. The Complaint intends to bring various claims as a collective




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  FLSA action, which will require extensive conferral as to the dates and deadlines for discovery,

  whether such discovery will be multi-pronged, the timing for the relevant motions, and the

  possibility of a prompt settlement before a mutually agreed upon scheduling order can be drafted.

  In order to devote the time needed to a productive 26(f) conference and resulting scheduling order,

  Plaintiff needs additional time to confer with Defense counsel.

               5. Accordingly, in order to conduct a through Rule 26(f) conference, including

  meaningfully exploring potential ADR mechanisms, Plaintiff requests a brief extension of the

  currently scheduled Scheduling Conference from June 6, 2024 to a date between June 26, 2024

  and July 12, 2024.

               6. Plaintiff’s attorney will serve this motion upon his client.

            WHEREFORE Plaintiff requests that the scheduling conference be continued as noted

  herein.


            Respectfully submitted this 29th day of May, 2024.


                                                   S/Edward W. Wimp_____________
                                                   Edward W. Wimp, Esquire
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                                                   Attorney for Plaintiff Michael Brown




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this _29th_ day of May, 2024, I electronically filed the foregoing
  UNOPPOSED MOTION TO CONTINUE SCHEDULING CONFERENCE with the Clerk of
  Court using the CM/ECF who will send notification to the following:

  Dana L. Eismeier (#14379)
  Adrienne C. Scheffey (#48668)
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  Attorneys for Defendant
  Project Resources Group, Inc.




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